Case 8:07-cr-00495-JSM-TGW Document 143 Filed 06/27/08 Page 1 of 6 PageID 348
Case 8:07-cr-00495-JSM-TGW Document 143 Filed 06/27/08 Page 2 of 6 PageID 349
Case 8:07-cr-00495-JSM-TGW Document 143 Filed 06/27/08 Page 3 of 6 PageID 350
Case 8:07-cr-00495-JSM-TGW Document 143 Filed 06/27/08 Page 4 of 6 PageID 351
Case 8:07-cr-00495-JSM-TGW Document 143 Filed 06/27/08 Page 5 of 6 PageID 352
Case 8:07-cr-00495-JSM-TGW Document 143 Filed 06/27/08 Page 6 of 6 PageID 353
